MAS'ZQOWN@' ease 4: 01- --c\/ -401N0mm@nvoehhméM®saciie@e@®/17/01 Page 1 of 35
WORCESTER SUPER|OR COURT

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Case Summary n n n _ § d
CivilDocket """“" ~- ~,`1`;§3.

*** NOT PUBL|C lNFORMATlON ***

WOCV2001-01363

08/07/2001
11:29 AM

 

 

 

 

 

 

 

City of Gardner
Service pending 07/03/2001

Defendant
Char|es J Manca individually
Service pending 07/03/2001

Defendant

Charies J Manca Mayor
City of Gardner

Service pending 07/03/2001

 

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Rovaardner et al Z@Di nw 1-3 A H: us

Fi|e Date 07/03/2001 Status dtrans Disposed: transferred to other court
Status Date 08/07/2001 Session C Civi| C (16 Worcester)
Origin 1 Case Type 599 |V|isc tort w
Lead Case Track F Pub|ic,'View j No-' " .,. ',___ ,W
Service 10/01/2001 Answer 11/30/2001 Rule12l19l20 11/30/2001
Rule 15 11/30/2001 Discovery 04/29/2002 Rule 56 05/29/2002
F|na| PTC 06/28/2002 Disposition 08/27/2002 Jury Tria| Yes
Pla|nt|ff Private Counse| 630447
Terry W Roy Michae| B Ha|pin lr- 0
Active 07/03/2001 Nationa| Association of Government

Emp|oyees

70 E|m Street

Worcester, MA 01609

Phone: 508-755-6221

Fax: 508»795-0005

Active 07/03/2001 'fy KET E ®
Defendant Private Counsel 6 4

James W Simpson

Merrick Louison 81 Coste||o
67 Batterymarch Street
Boston, MA 02110

Phono: 617-439-0305

Fax: 617~439-0325

Active 07/31/2001 Notify

"'** See Attorney information Above ***

*** See Attomey information Above ***

 

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Page 1 of 3

 

MAS'29010706` CaS€ 4201-CV-40lEQlel®@Uhm§M$SPle€®3/l7/01 Page 2 Of 35

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WORCESTER SUPER|OR COURT
Case Summary
Civi| Docket

*** NOT PUBL|C lNFORMATION ***

WOCV2001-01363
Roy v Gardner et al

08/07/2001
11:29 AM

 

Defendant
James E Dufort individually
Service pending 07/03/2001

Defendant

James E Dufort Chief of Police
City of Gardner

Service pending 07/03/2001

Defendant
Roger Wrigley individually
Service pending 07/03/2001

Defendant

Roger Wrig|ey Sergeant
City of Gardner

Service pending 07/03/2001

*** See Attorney information Above ***

***

*** See Attorney information Above

*** See Attorney information Above ***

*** See Attorney information Above ***

 

 

 

 

Date Paper Text

07/03/2001 1.0 Comp|aint & civil action cover sheet filed rule 29 statement and -CJ

07/03/2001 Origin 1, Type 899, Track F.

07/10/2001 2.0 Ex parte motion to impound Exhibit "A“ by Terry W Roy ,affid. of
counsel to motion & exhibits

07/10/2001 Motion (P#2) allowed ex parte. Hearing on impoundment with ali

parties being notified on 7/27/01. (T.S. Hi||man, Justice) Notices

07/1 1/2001
07/1 1/2001

07/31/2001
08/03/2001

08/07/2001

 

3.0

4.0

5.0

mailed Ju|y 'I'|, 2001

Motion to appoint special process server by Terry W Roy

Motion (P#3) allowed (Loring P Lamoureux, C|erk) Notices mailed July
12, 2001

Joint motion to impound

Motion (P#4) allowed (John S. McCann, Justice) Notices mailed August
06, 2001

Notice of removal to US District Court by defendants

 

 

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Page 2 of 3

 

MAS'?®OW"O° Case 4:O1-cv-40l£!?0mm®l“i§@lthméM$SaEhedeU/l7/01 Page 3 of 35
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Case Summary
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*** NOT PUBL|C lNFORMATiON ***

WOCV2001-01363
Roy v Gardner et al

08/07/200‘|
11:29 AM

 

Date Paper Text
08/07/2001 Case REN|OVED this date to US District Court of Massachusetts

 

 

 

 

 

 

Date Session Event Resu|t

no "C" session judge.
impounded motion to be reheard. (T.S. Hi|iman,.i. Rm. 204 - There is

 

07/27/2001 Civi| C (16 Worcester) Motion/Hearing: miscellaneous Event canceled not re-scheduied for another date

 

 

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Page 3 of 3

 

 

 

 

 

  

 

 

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PLAiNTlFF(S) DEFENDANT(S) A f‘ ah (.\€
Terf W. \Qo\ C, i»\ 05 G¢ac~ n<_ q 5
\/ / mcknch :So\mo_g,/ bd,§@r>-\ otr~',\ Ro§@r bd ’\-'\ -\i€)/
ATTOF\NEY, FlRM NAME. ADDRESS AND TELEPHONE ATI'OF\NEY (if KI'\OWI'\)

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Board of Bar Overseers number: 630 C/(/ 17

 

 

Origin code and track designation

 

i e an x in one box oniy: i:i 4. FO4 District Court Appeai c.231, s. 97 &104 (Atter
1. F01 Originai Complaint triai) (X)
2. F02 Ftemoval to Sup.Ct. C.231,s.104 \:| 5. F05 Fieactivated after rescript; relief from
(Before tria|) (F) judgment/Order (i\/lass.Fi.Civ.P. 60) (X)
i:i 3 F03 aetransfer to sup Ct. C.231,s.1020 (x) i:i 6. E10 summary Process Appeai (x)
T¥PE OF ACTiON AND TRACK DES|GNATiON (See reverse side)
CODE NO. TYPE OF ACT|ON (specify) TRACK |S TH|S A JUFiV CASE?
jakh+i¢nn..] TO""*S l h€¢`\~jlf)cg
Bc\c\ laan (b'\¥r\¢~.¢-i ci»t‘.m$ (F') §>GYes ( )No

 

 

The following is a fuii, itemized and detailed statement of the facts on which plaintiff relies to determine
money damages. For this form, disregard double or treble damage claims; indicate single damages on|y.

 

TORT CLAIMS
(Attach additional sheets as necessary)
A. Documented medical expenses to date:

 
  

 

Provide a detailed description of claim(s):

S;f( A’~!.`c/€_ 5 i’n/U-L 74/`/‘{/¢¢_`/1»1_§

TOTAL $ ............

1. Total hospital expenses ......................................................... $ .............
2. Total Doctor expenses .......................................................... $ .............
3. Total chiropractic expenses ...................................................... $ .............
4. Total physical therapy expenses .................................................. $ .............
5. Total other expenses (describe) ................................................... $ .............
Subtota| $ .............
B. Documented lost wages and compensation to date ........................................ $ .............
C. Documented property damages to date ................................................. $ .............
D. Fieasonab|y anticipated future medical and hospital expense .................... .$ .............
E. Reasonabiy anticipated lost wages ........ -/.LD. .¢{¢vé_ ............. [¢*f/' ./‘.’"F' .".‘. . . “M)’) .$ ./<:Q..U. .0.(.)<9.-‘.°¢°
F. Other documented items of damages (describe)
$ .............
G. Brief description of piaintift’s injury, including nature and extent of injury (describe)
ama-/$W~{ d 1511/yes /os/ u/F\SM g.$,,mj, 79 /p/»o+aj.d`,\ ,1,\,4 j¢,M( /,,,,W ag,,.,,¢ M ,
/»§§ c /`.7»1-,+§ f’/..¢ L.z.?¢j Wd efdean fn? ppg {___,` “_`._; ,\ P,\((_Q .,,_lyc,.,. l . j?';¢' '--...
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”l‘/J'J’E a’)'p€()l¢m£-./ ,"'i (`¢Mr\;l”\Sv-J{--) '\ l /`~') 11 f;' W 4 ',¢7/ ~/ l-¢?,¢»_y qu_¢-q/,L\r\y` -`..\ e'fh,o‘\-r-//h¢»~}{ ‘)* `_J
coN'rRAcT cLAiMs ' v’//# 4 M/"'YM~/ he
(Attach additional sheets as necessary) ’\ f" ‘ “ ‘

 

PLEASE |DENTiFY, BY CASE NUMBEFi, NAME AND COUNTY, ANY FiELATi"-_'D ACT|ON PE_ND!NG iN THE. SUPER|OFi

COURT DEPARTMENT M% _ _

 

“i hereby certify that i have/complied with the requirements of Rule 5 of the Supreme_ Judic_i__ai Cour_t Unifoi_`rm Rules on
Dispute Resoiution (SJC Rule 1:18) requiring that i provide my clients with information about court-connected dispute
resolution services and discuss with them the advantages and disadvantages of t e \'_a_r_ious me o_ci "_

 

 

Signature of Attorney of Hecord 7----*7 ___';f' W

 

 

 

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E&i';
___ COMMONWEALTH OF MASSACHUSETTS
‘ fry TER, ss SUPERIOR COURT DEPAR'I`MENT

 

CLEF{K OF THE TRIAL COURT
C.A. No.
01'-1363 C,.
)
TERRY W. ROY, )
Plaintiff )
) l
v- )
) COMPLAINT
ClTY ()F GARI)NER, CHARLES J. MANCA, )
lndividually and in his Capacity as Mayor of the )

and in his Capacity as Chief of Poliee for the City oi)
Gardner, and ROGER WRIGLEY, Individually and )
in his capacity as a Sergeant for the Gardner Poliec ) "//d,;_#
Department )
Defendants

City of Gardner, JAMES a DUFoRT, Individuaily ) \

)
)

 

l. 'l`he Plaintiff, Terry W. Roy, is a resident Ot` the City Ol`Gardner, Worcester
County, Massachusetts and Was, until his Deeember 1999 termination_, employed
by the City of Gardner, Massachusetts as a police ofticer.

2. The Det`endant, City ot`Gardner, Massachusetts, is a municipality incorporated
under the laws Of the Commonwealth of Massachusetts and Was, until his
l)eccmber 1999 termination, the Plaintii`l's employer

3. Defendant Charles J. Manca is believed to be a resident ot`Gardner, Woreester
County, Massachusetts and Was, at all times relevant to this action_, the l\/layor of
the City ot` Gardner, a manager and supervisor ot` the Plaintift`, and the Appointing
Authority t`or the Gardner Police Department and ol` the Plaintii`l`.

4. Defendant .lames E. Dut`ort is believed to be a resident ot` the City of Gardner,
Worcester County, Massachusetts and Was, at all times relevant to this action, the
Chief ol`Poliee for the City of Gardner, a manager and supervisor of Plaintit`t`
Roy, and the Firearms l_,ieensing Authority for the City of Gardner under
Massachusetts General Laws_, Chapter 140, Seetion l3l.

5. Det`endant, Roger Wrigley, is believed to be a resident of the 'l`own of Phillipston,
Worcester County_, Massachusetts and Was_, at all times relevant to this action, a

 

' Case 4:Ol-cv-40l37-Ni\/|G Document3 Filed 08/17/01 Page60f35

Sergeant for the Gardner Police Department, and the applicant for a criminal
complaint against the Plaintiff for alleged violation(s) of municipal by-law(s) or
ordinance(s) and state law.

COUNT I
DEFAMATION OF CHARACTER

6. The Plaintiff rcallcges Paragraphs l through 5 above and incorporates them herein
by referencc.

7. Dei`endants City of Gardner, Charles J. l\/Ianca, J ames E. Dufort, and Rogcr
Wrigley willfully and maliciously published false_, misleading, and libelous
material against Plaintiff Roy and slandered him with words tending to prejudice
him in his employment and injure his reputation

8. Specitically, Defendants City of Gardner, Charles J. Manca, and J ames E. Dufort
published t`alse, misleading, and libelous material relating to Plaintiff Roy’s
conduct as a police officer, his public and private conduct, his suitability for
ot`tice, his suitability for licensing and possession of firearms under the laws of
the Commonwealth of Massachusetts, his moral fitness and veracity_, his court
history as an adult and juvenile, his military record, his application for a firearms
license pursuant to Massachusetts General Laws, Chapter 140, Section 131, his
eharacter, and his personal and private relationships Moreover, Defendant Roger
Wrigley falsely and maliciously accused the Plaintifi` of violating state criminal
law, as well as municipal dog law(s) and wrongfully initiated civil and criminal
proceedings against the Plaintiff in relation to the same.

9. As a result of the dissemination and publication of these i`alse, misleading, and
libelous words and materials, Plaintiff Roy suffered damage to his reputation, was
deprived of his license to possess l'irearms_, was terminated from his position as a
police officer for the City of Gardner, and was subjected to, and continues to be
subjected to, ineonvenience, harassment, hatred, ridiculc, humiliation_,
embarrassment, eontempt, and scorn from the members ol` his community

lO. l\/lorcover, l)laintiff Roy_, as a result ol` the Dei`endants’ conduct_, suffercd, and
continues to suffer, economic loss and hardship, lost benefits, wages, and other
privileges and compensation He also endurcd, and continues to endure, great
suffering of mind and other physical and emotional harm.

WHEREFORE, the Plaintiff, 'l`erry Roy_, respectfully demands judgment against
i)cfendants City ofGardner_, Charles J. l\/lanca, Roger Wrigley, james E. `Dufort and asks
that his license to possess firearms under Massachusetts General Laws, Chapter 4l_,
Section 98 and/or Massachusetts General Laws_, Chapter 140, Section l3l be
retroactively reinstated, effective Deccmbcr 28, 1999_, that he be made whole for all lost

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wages, compensation, benefits, privileges, and other remuneration, and that he be
awarded consequential, special, exemplary, punitivc, and other damages_, plus interest,
attorney’s fees, associated costs, and such other relief deemed just and appropriate

COUNT ll
l.NVASION OF PRIVACY

ll. Thc Plaintiff realleges Paragraphs l through l() above and incorporates them
herein by reference

12, Defendants City of Gardner, Charles J. Manca_, Roger Wrigley, and James E.
l)ufort, acting individually, in concert with others, and/or through the conduct of
its representatives, agents, of`ficers, managers, supervisors, and cmployees,
unreasonably, Substantially, and seriously interfered with the Plaintiff1 s right to
privacy in violation of Massachusetts General Laws, Chapter 214_, Seetion lB_, by
unlawfully receiving and disseminating material contained or that should be
contained in the Plaintiff’s personnel file in accordance with Massachusetts
General Laws, Chapter 149, Section 52C, as well as information concerning
Plaintiff Roy’s conduct as a police of`ficer, his public and private conduet_, the
Plaintif'f’s Suitability for offiee, his Suitability for licensing and possession of
firearms under the laws of the Commonwealih of Massachusetts, his moral fitness
and veracity, his record of involvement with police departments and courts as an
adult and juvenile_, his military record, the Plaintiff"s application for a firearms
license pursuant to Massachusetts General l__iaws, Chapter l4()_, Section 13 l , his
character, and his personal and private relationships

]3. l\/Ioreovcr, l)efendants City of Gardner, Charles .l. Manca, Roger Wrigley, and
flames E. Dufort, acting individually_, in concert With others_, and/or through the
conduct of their representatives, agents_, of`ficers, managers, supervisors_, and
employees, unreasonably, substantially, and seriously interfered With Plaintiff
Roy’S privacy rights and abused their respective offices by ordering, requiring,
instructing, and/or compelling public employees to produce, nianufacture, collect,
and disseminate material and information to justify the termination of Plaintiff
Roy from his position as a police officer for the City o'fGardner, to retaliate
against the Plaintiff for asserting his rights, and to destroy his reputation within
the community.

l4. PlaintiffRoy, as a result thereof, suffered damage to his reputation, was deprived
of his license to possess firearms1 was terminated from his position as a police
officer for the City of Gardner, and was subjected to, and continues to be
subjected to, inconvenienee, harassment, hatred, ridicule, humiliation,
embarrassment_, eontempt, and scorn from the members of his community

15. l\/loreover, Plaintiff Roy, as a result of the Defendants’ eonduct, suffered, and
continues to suffer_, economic loss and hardship, lost benefits, wages, and other

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privileges and compensation The Plaintiff endured, and continues to endure,
great suffering of mind and other physical and emotional harm.

WHEREFORE, the Plaintiff, Terry Roy, respectfully demands judgment against
Def`endants City ofGardner_, Charles J. Manca, Roger Wriglcy, and James E. Dufort and
asks that his license to possess firearms under Massachusetts General Laws, Chapter 41,
Section 98 and/or Massachusetts General Laws, Chapter 140, Section 131 be
retroactively reinstated_, effective December 28, 1999, that he be made whole for all lost
wages, compensation, benefits, privileges, and other remuneration, and that he be
awarded consequential, special, exemplary, punitive_, and other damages, plus interest,
attorney’s fees, associated costs_, and such other relief deemed just and appropriate

COUNT III
INTENTIONAL INFLICTION O`F EMOTIONAL DISTRESS

16. The Plaintiff realleges Paragraphs l through 15 above and incorporates them
herein by reference.

l7. Through their conduct and the conduct of their representatives, agents_, managers_,
supervisors, and employees, Defendants City of Gardner, Charles .l. l\/lanca_,
Roger Wrigley, and J ames E. Dufort subjected Plaintiff Roy to treatment that was
extreme and outrageous_, and intended to cause emotional distress

18. Plaintiff Roy, as a result thereof`, suffered damage to his reputation, was deprived
of his license to possess firearms, was terminated from his position as a police
officer for the City of Gardner_, and Was subjected to, and continues to be
subjected to, inconvenience, harassment, hatred, ridicule, humiliation,
embarrassment, contempt, and scorn from the members of his community

19. l\/loreover, PlaintiffRoy_, as a result of the Defendants’ conduct` suffered, and
continues to suffer_, economic loss and hardship, lost bencfits, wages, and other
privileges and eompensation. 'l`he Plaintiff also endured_, and continues to endure_,
great suffering of mind and other physical and emotional harm.

Wl llszEF(-)RE, the Plaintif`f`, Terry Roy, respectfully demands judgment against
Defendants City of Gardner, Charles J. l_\/lanea, Roger Wriglcy_, and James F. Duf`ort_, and
asks that his license to possess firearms under Massachusetts General luaws, Chapter 41,
Section 98 and/or Massachusetts General lcaws, Chapter 14(), Section 131 bc
retroactively reinstated, effective December 28_, 1999, that he be made whole for all lost
wages_, compensation_, benefits, privileges, and other remuneration, and that he be
awarded consequential, special, exemplary, punitive_, or other damages, plus intercst,
attorncy’s fees, associated costs, and such other relief deemedjust and appropriate

 

 

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COUNT IV
VIOLATION OF MASSACHUSETTS CIVIL RIGHTS ACT
(M.G.L. c. 12§111)

The Plaintiff realleges Paragraphs 1 through 19 above and incorporates them
herein by reference

Through their conduct and the conduct of their agents and employees, Defendants
City of Gardner, Charles J. Manca, Rogcr Wrigley, and James E. Dufort, at times
acting under color of`law, interfered and/or attempted to interfcrc, through threat
intimidation and/or cocrcion_, with rights guaranteed to Plaintiff `Roy under our
state and federal constitutions, as well as state and federal law.

Specifically, Defendants City of Gardner, Charles .l. Manca, Roger Wrigley,
James E. Dufort, and their agents and employees interfered or attempted to
interfere with Plaintiff Roy’s constitutional right to bear arms, his statutory right
to a review of his termination, his statutory right to be licensed to possess
firearms, his constitutional and statutory rights to be free from unreasonable
invasions into his personal and private affairs, his constitutional and statutory
rights to procedural and substantive due process_, and other rights_, privileges, and
immunities secured by constitutional and statutory provision

The Defendants interfered and/or attempted to interfere with Plaintiff Roy’s rights
through intimidation, threat and/or coercion.

As a police officer, the Plaintiff, 'l`erry W. R_oy, possessed a property interest in
his licenses to possess and carry firearms, and property interests in connection
with his right to possess and keep animals and to challenge the imposition of civil
penalties in connection with the same. 'l`hc Defendants City of`Gardner, Charles
.i. l\/lanca, Roger Wrigley_, and .lames H. l)uf`ort, acting, at times, pursuant to
municipal policy, deprived or attempted to deprive the Plaintiffof these property
rights without due process

Additionally, Massachusetts General Laws Chapter 41, Scction 98 and
Massachusetts General Laws, Chapter 140, Scction 131 place unconstitutional
burdens on the Plaintiff and deprive him of` these property rights without due
process. As applied to the Plaintiff by Def`endants City of (_1ardner, Charles .l.
l\/lanca, and James E. Dufort, these statutes also deny him due process and equal
protection under state and federal law.

Plaintiff Roy, as a result thereof, suffered damage to his reputation_, was deprived
of his license to possess firearms, was terminated from his position as a police
officer for the City of Gardner, was deprived of eompensation, rights_, benefits,
and privileges, was compelled to expend financial rcsourccs, and was subjected
to, and continues to be subjected to, inconvenience harassment, hatred, ridicule,

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humiliation, embarrassment, contempt, and scorn from the members of his
community

27. Moreover, the Plaintiff, as a result of the I)ef`cndants’ conduct, expended, and
eontinues to expend financial resources and suffered and continues to suffer
economic loss and hardship, lost benefits, wages_, and other privileges and
compensation. "l`hc Plaintiff also endured, and continues to endure, great suffering
of mind and other physical and emotional harm.

WHEREFORE, the Plaintiff`, Terry Roy, respectfully requests that this Honorable
Court DECLARE, pursuant to Massachusetts General flaws, Chapter 231A, that, as the
Sarne have been applied to the Plaintiff, Massachusetts General Laws_, Chapter 31 ,
Section 41_, Massachusetts General lcaws, Chapter 41 , Section 98 and Massachusetts
General Laws, Chapter 140_, Section 131 violate the constitutions of this Commonwealth
and these United States, and otherwise deny him due process and equal protection under
state and federal law.

The Plaintiff`also respectfully demands judgment against Defendants City of Gardner,
Charles J. Manca, Roger Wrigley7 and James E. Dufort and asks that his license to
possess firearms under Massachusetts General Laws, Chapter 41, Section 98 and/or
Massachusetts General Laws, Chapter 14(), Scction 131 bc retroactively reinstated_,
effective December 28, 1999_, that he be made whole for all lost wages, compensation_,
bencfits, privileges, and other remuneration_, and that he be awarded consequential,
speeial, exemplary, punitive, and other damages, plus interest, mandatory attorney’s fees.
associated costs, and such other relief`deemed just and appropriate Moreover, the
Plaintiff asks that the Court, in its discretion_, enjoin the Defendants from interfering or
attempting to interfere with the Plaintiff’s rights in the future and from engaging in
conduct that harasses the Plaintiffor retaliates against him for asserting his ri ghts.

CoUNT v
vloLATIoN oF FEDERAL CleL iuon'rs AeT
(42 u.s.c. §1983)

28. The Plaintiffrealleges Paragraphs l through 27 above and incorporates them
herein by reference

29. Acting under the color of law and, at times, pursuant to municipal policy
Defendants City of Gardner, Charles .1. l\/lanca, Roger Wrigley, and James E.
Dufort deprived the Plaintiff of rights secured by state and federal law.

3('). Plaintiff Roy_, as a result thereof, suffered damage to his reputation, Plaintiff Roy,
as a result thereof, suffered damage to his reputation, was terminated from his
position as a police officer for the City of Gardner, and was subjected to_, and
continues to be subjected to, inconvenience harassment, hatred_, ridicule,

 

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humiliation, cmbarrassment, contempt, and scorn from the members of his
community

31. Moreover, Plaintiff Roy, as a result of the Defendants’ conduet, suffered, and
continues to suffer, economic loss and hardship, lost benefits, wages, and other
privileges and compensation "l`he Plaintiff also endured_, and continues to endure,
great suffering of mind and other physical and emotional harm.

WHER_EFORE, the Plaintiff, Terry Roy, respectfully requests that this l"lonorable
Court I)ECLARE, pursuant to Massachusetts General Laws, Chapter 231/\_, that, as the
same have been applied to the Plaintiff, Massachusetts Gcncral Laws, Chapter 31,
Section 41 , Massachusetts General Laws_, Chapter 41, Section 98 and Massachusetts
General Laws, Chapter 140, Section 131 violate the Constitutions of this Commonwealth
and these United States, and otherwise deny him due process and equal protection under
state and federal laW.

The Plaintiff also respectfully demands judgment against Defendants City of Gardner,
Charles J. Manca and J ames E. Dufort and asks that his license to possess firearms under
Massachusetts General Laws, Chapter 41, Section 98 and/or Massachusetts General
Laws, Chapter 140_, Section 131 be retroactively reinstated, effective December 28, 1999,
that he be made whole for all lost wages, compensation, benefits, privileges, and other
rcmuneration, and that he be awarded consequential, special, exemplary, punitive, and
other damages, plus interest, mandatory attorney’s fees_, associated costs, and such other
relief`deemed just and appropriate Moreover, the Plaintiff asks that the Court, in its
discretion, enjoin the Defendants from interfering or attempting to interfere with the
Plaintiff’ s rights in the future and from engaging in conduct that harasses the Plaintiff or
retaliates against him for asserting his rights.

COUN'I` VI
RECKLESS/NEGLlGENT lNFLlCTl()N OF EMO'I`IONAL DIS'I`RESS
(M.G.L. c. 258)

32. The l-’laintif`f`realleges Paragraphs l through 31 above and incorporates them
herein by reference

. ln accordance with Massachusetts General liaws_, Chapter 258, Seetion 4_, the
Plaintiff presented a written demand on the Defendant City of Gardner in or
around March of 20()(). The Defendant municipality subsequently rejected the
Plaintist claim without an offer of settlement

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34. 'l`hrough their conduct and the conduct of their officers, agents, managers, and
other employees, in relation to matters unrelated to the Plaintiff’ s employment or
the employment interests of the City ofGardner, Defendants City ofGardncr,
Charles .1. l\/lanca, and James E. Dufort recklessly and/or negligently inflicted
emotional distress on the Plaintiff.

 

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35. Through its conduct and the conduct of its officers, agents, managers, Defendant
City of Gardner recklessly and/or negligently failed to supervise its elected and
appointed employees, as well as its agents, officers, supervisors, managers, and
other employees, in relation to matters unrelated to the Plaintiff"s employment or
the employment interests of the City of Gardner. As a result, Defendant City of
Gardner recklessly and/or negligently inflicted emotional distress on the Plaintiff.

36. '_i`hrough its conduct and the conduct of its officers_, agents_, managers_, Defendant
City of Gardner recklessly and/or negligently failed to train its elected and
appointed employees, as well as its agents, officers, supervisors, managers, and
other employees, in relation to matters unrelated to the Plaintiff’s employment or
the employment interests of the City of Gardner. As a result, Defendant City of
Gardner recklessly and/or negligently inflicted emotional distress on the Plaintiff.

37. 'l`hrough its conduct and the conduct of its officers, agents, managers, Defendant
City of Gardner recklessly and/or negligently hired and/or retained its elected and
appointed employees, as well as its agents, officers, supervisors, managers, and
other employees, in relation to matters unrelated to the Plaintiff` s employment or
the employment interests of the City of Gardner. As a result, Defendant City of
Gardner recklessly and/or negligently inflicted emotional distress on the Plaintiff.

38. PlaintiffRoy_, as a result thereof, also suffered damage to his reputation, was
deprived of his license to possess firearms, was terminated from his position as a
police officer for the City of Gardner, and was subjected to, and continues to be
subjected to, inconvenience harassment, hatred, ridiculc, humiliation_,
embarrassment, eontempt, and scorn from the members of his community

39. Moreover, PlaintiffRoy, as a result of the Defendants’ conduet, suffered, and
continues to suffer_, economic loss and hardship, lost bcnefits, wages, and other
privileges and compensation The Plaintiff also endured, and continues to endure_,
great suffering of mind and other physical and emotional harm.

Wl ll€l{l;`l~`(')l{l;`, the Plaintiff, Terry Roy_, respectfully demands judgment against
Defendants City of Gardner, Charles .1. Manca, and James F,. Dufort and asks that he be
made whole for all lost wages_, compensation, benefits, privileges, and other
rcmuneration, and that he be awarded consequential, special_, exemplary punitive, or
other damages, plus interest, attorney’s fees, associated costs, and such other relief
deemed just and appropriate

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Case 4:01-cv-40137-Ni\/|G Document 3 Filed 08/17/01 Page 13 of 35

COUNT Vll
lNTENTIONAL lNTERFERENCE WITH
BUSINESS/ADVANTAGEOUS RELATIONS

The Plaintiffrealleges Paragraphs 1 through 39 above and incorporates them
herein by reference

'i`he Plaintiff, Terry W. Roy_, at all times relevant to this action, was a member of`
the lnternational Brotherhood of Police Officers, an organization that was_, at all
times relevant to this action, the recognized collective bargaining agent for the
Gardner Police Dcpartment patrolmen

At all times relevant to this action_, the lnternational Brotherhood ofPolice
Officers and the Defendant City of Gardner were parties to a collective bargaining
agreement relating to the Plaintiff’ s employment with the Gardner Police
Department.

Defendants Charles J. Manca and J ames E. Dufort, at all times relevant to this
action, possessed knowledge of the existence of the collective bargaining
agreement between the City ofGardner and the International Brotherhood of
Police Officers, as well as the Plaintiffs contractual relationship and business
expectancy arising out of the same

lndividually and/or in concert with ot.hers, Defendants Charles J. Manca and

J ames E. Dufort, with improper motives and by inappropriate means, intentionally
interfered with the Plaintiff’ s contractual relationship with the City of Gardner, as
well as his business expectancy in the same and induced the City to breach the
contract governing the Plaintiff`s employment and other contractual agreements
between the City ofGardner and the Plaintiff as an individual. Def`endants
Charles J. l\/Ianca and James E. Dufort also aided and encouraged the City to end
its relationship with thc Plaintiff and caused thc City to terminate the Plaintiff`s
business expectancy and other rights, privileges, and benefits accompanying these
agreements

. PlaintiffRoy, as a result thereof, suffered damage to his reputation was deprived

of his license to possess firearms_, was terminated from his position as a police
officer for the City ofGardner, and was subjected to, and continues to be
subjected to, inconvenience harassment, hatred, ridicule humiliation_,
embarrassment, contempt, and scorn from the members of his community

l\/Ioreover, PlaintiffRoy, as a result of the Defendants’ conduct_, suffered_, and
continues to suffer, economic loss and hardship_, lost benefits, Wages_, and other
privileges and compensation The Plaintiff also endured, and continues to endure
great suffering of mind and other physical and emotional harm.

9

 

Case 4:01-cv-40137-Ni\/|G Document 3 Filed 08/17/01 Page 14 of 35

WHEREFORE, the Plaintiff, Terry Roy, respectfully demands judgment against
Defendants Charles .1. Manca and James E. Dufort and asks that his license to possess
firearms under Massachusetts Gencral liaws, Chapter 41_. Section 98 and/or
Massachusetts General Laws, Chapter 140_, Section 131 be retroactively reinstated,
effective December 28, 1999, that he be made whole for all lost wagcs, compensation,
benefits, privileges, and other remuneration, and that he be awarded consequential,
special, exemplary, punitive or other damages, plus intercst, attorney’s fees, associated
costs, and such other relief deemed just and appropriate

COUNT VlII
MALICIOUS PROSECUTION/WRONGFUL INSTITUTION OF
PROCEEDINGS/ABUSE OF PROCESS

47. 'l`he Plaintiff realleges Paragraphs 1 throuin 46 above and incorporates them
herein by reference

48. lndividually, in concert with others and/or through the conduct of` their
representatives_, agents, managers, supervisors, and employees_, Defendants City
of Gardncr, Charles J. Manca, Roger Wrigley_, and James H. Dufort maliciously
and intentionally instituted criminal, civil_, contractual, investigative
administrative and/or statutory proceedings against the Plaintiff_, without probable
cause or sufficient reason, in an attempt to harass, coerce and_, intimidate the
Plaintiff into abandoning his position with the City and/or for the purpose of`
interfering with the Plaintiff’ s effort to retain that position_, to obtain an unfair
advantage over the Plaintiff in their labor dispute to avoid contractual and
statutory burdens or requirements, and/or to otherwise effectuate the wrongful,
unwarranted, and unjust removal ofthe Plaintiff from his position as a Gardner
police officer.

49. Defendants City ofGardner, Charles J. l\/Ianca, Roger Wrigley, and .larnes E.
l)ufort availed themselves of criminal, civil, contractua.l, administrative
municipal, investigative and/or statutory processes with ulterior motives and for
illegitimate purposes, and otherwise abused their offices and these processes to
the detriment of the Plaintiff.

50. Plaintiff Roy, as a result thereof, suffered damage to his reputation, was deprived
of his license to possess firearms, was terminated from his position as a police
officer for the City ofGardner, and was subjected to, and continues to be
subjected to, inconvenience harassment, hatred, ridicule humiliation,
en'lbarrassment, contempt, and scorn from the members of his community

51_. l\/loreover, PlaintiffRoy_, as a result of the Def`endants’ conduct_, suffered, and
continues to suffer, economic loss and hardship, lost benefits, wages, and other
privileges and compensation The Plaintiff also cndured_, and continues to endure
great suffering of mind and other physical and emotional harm.

lO

Case 4:01-cv-40137-Ni\/|G Document 3 Filed 08/17/01 Page 15 of 35

WHERF.FORE, the Plaintiff, Terry Roy, respectfully demands judgment against
Defendants City of Gardner, Charles J. Manca, Roger Wrigley, and James E. Dufort and
asks that his license to possess firearms under Massachusetts General Laws, Chapter 41 ,
Section 98 and/or Massachusetts General Laws, Chapter 14(), Section 131 be
retroactively rcinstated, effective December 28, 1999, that he be made whole for all lost

wages,

compensation_, benefits, privileges, and other remuneration, and that he be

awarded special_, exemplary, punitive or other damages, plus interest, attorney’s fees,
associated costs, and such other relief deemed just and appropriate

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57.

COUNT IX
BREACH OF CONTRACT

The Plaintiffrealleges Paragraphs 1 through 51 above and incorporates them
herein by reference

'f`he Plaintiff, Terry W. Roy, and Defendants City of Gardner and Charles .1.
Manca, as well as James E. Dufort by implication, executed an agreement
(hereinafter referred to as the “Agreement”) on or about Junc 7, 1999. (Exhibit
A).

Undcr Paragraphs 2 and 3 of the June 7, 1999 Agreement, Defendants Charles .l.
i\/ianca and the City ofGardner agreed, in the event the Plaintiff did not engage in
conduct similar to the allegations made against him or in conduct involving
domestic violence for a period of one year_, to expunge all material relating to an
(:)ctober 1997 civilian compliant made against the Plaintiff (l§xhibit A).

Undcr Paragraph 5 of the Agreement_, Defendants City ofGardncr, Charles J.
l\/fanca, and James E. Dufort agreed that the Chief of Police for the City of
Gardner would not use the reasons advanced for the discipline of the Plaintiff to
deny the Plaintiff a license to carry a firearm and the City stipulated that any
decision relating to the Plaintist suitability to be so licensed would not rely on
the reasons it advanced to discipline the Plaintiff. (l;`xhibit A).

U nder Paragraph 6 of the Agreement_, Defendants City of Gardner, Charles J.
l\/lanca, James E. f)ufort were obligated not to disclose or describe the content of
the June 7, 1999 Agreement unless the same was necessary to enforce the same
(lixhibit A).

in or around December of 1999_, Defendant James E. Dufort testified, under oath,
that he did, in violation of the Agreement, deny the Plaintiff a license to carry a
firearm utilizing reasons previously advanced by the City of Gardner and the
Gardner police Department to discipline the Plaintiff. (_Exhibit A).

 

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58. ln or around December of 1999 and at times thereafter, Defendants City of
Gardner, Charles J. Manca, and James E. Dufort also relied on the reasons
advanced to previously discipline the Plaintiff to terminate the Plaintiff from his
employment and to deny the Plaintiff a license to possess firearms in violation of
Paragraph 5 of the Agreement.

59. In Violation of Paragraph 6 of the Agreement and to the detriment of`the Plaintiff,
Defendants City of Gardner, Charles J. Manca_, and James E. Dufort advanced_,
disclosed_, and described information relating the content of this Agreement where
the same was not necessary to the enforcement of the same or otherwise permitted
by law or contract.

60. Plaintiff Roy, as a result thereof_, suffered damage to his reputation was deprived
of his license to possess firearms, was terminated from his position as a police
officer for the City of Gardner, and was subjected to, and continues to be
subjected to, inconvenience harassment, hatred7 ridicule humiliation,
embarrassment, contempt, and scorn from the members of his community

61. Moreover, PlaintiffRoy, as a result of the Defendants’ conduct_, suffered_, and
continues to suffer, economic loss and hardship, lost benefits_, wages_, and other
privileges and compensation 'i"he Plaintiffalso endured, and continues to endure
great suffering of mind and other physical and emotional harm.

WHEREFORE, the Plaintiff, Terry Roy, respectfully requests that this Honorable
Court DECLARE, pursuant to Massachusetts (_1encral l__laws, Chapter 231A, that
Defendants City of Gardner, Charles .l. Manca, and James E. Dufort are as described in
Paragraphs 51-61 of this Complaint, in violation of`their .lune 7_, 1999 Agreement with
the Plaintiff.

The Plaintiff also respectfully demands judgment against Defendants City of Gardner,
Charles .1. Manca, and James E. Dufort and asks that his license to possess firearms under
Massachusetts General Laws_, Chapter 41_, Section 98 and/or Massachusetts General
Laws, Chapter 140, Section 131 be retroactively reinstated, effective December 28, 1999,
that he be made whole for all lost wages, compensation_, benefits_, privileges, and other
remuneration, and that he be awarded specia.l, exemplary, punitive or other damages,
plus interest, attorney’s fees, associated costs, and such other relief deemed just and
appropriate

COUNT X
BREACH OF COVENANT OF GOOD FAlTll AND F`AlR DEALING

62. 'l"he Plaintiff realleges Paragraphs l through 61 above and incorporates them
herein by reference

12

 

Case 4:01-cv-40137-Ni\/|G Document 3 Filed 08/17/01 Page 17 of 35

63. By and throuin their conduet, as Well as the conduct of their agents, managers,
supervisors_, officers, and employecs, Defendants City ofGardner, Charles J.
Manca, and James E. Dufort breached a covenant of good faith and fair dealing
owed to the Plaintiff and, individually and/or collectively, acted to deprive the
Plaintiffof his position with the City of Gardner, and to otherwise deny him the
rights, privileges, benefits, and compensation of his employment, the collective
bargaining agreement relating to his employn"ient_, and other agreements between
the parties.

64. Plaintiff Roy, as a result thereof, suffered damage to his reputation_, was deprived
of his license to possess firearms_, was terminated from his position as a police
officer for the City of Gardner, and was Subjected to, and continues to be
subjected to_, hatred_, ridicule humiliation, embarrassment, contempt_, and scorn
from the members of his community

65. Moreover, Plaintiff Roy, as a result of the Defendants’ conduct_, suffered, and
continues to suffer, economic loss and hardship_, lost benefits, wages, and other
privileges and compensation rl`he Plaintiff also endured, and continues to endure
great suffering of mind and other physical and emotional harm.

7

WHEREFORE, the Plaintiff respectfully demands judgment against Defendants City
ofGardner_, Charles J. l\/lanca, and .lames E. Dufort and asks that his license to possess
firearms under Massachusetts General Laws, Chapter 41, Section 98 and/or
Massachusetts General Laws, Chapter 140_, Section 131 be retroactively reinstatcd,
effective December 28, 1999, that he be made whole for all lost wagcs, compensation
benefits, privileges, and other remuneration, and that he be awarded special, exemplary,
punitive or other damages, plus interest, attorney’s fees, associated costs, and such other
relief deemed just and appropriate

IN ACCORDANCE WITH RULE 38(b) OF 'l`HE MASSACHUSETTS
RULES ()F C_lVll.i PR()CEI)URE, TI'IE PLAlNTIFF, TERRY W. ROY, HEREBY
DEMANDS A TRIAL BY JURY ON ALL ISSUES S() TRIABLE.

R_espectfully Submitted
"l`l~IRRY W. R(_)Y,
By his Attorney,

July 3, 2001

   

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ichael B. Halpin
BB(_) # 630447 _ _ _
lnternational Brotherho'od of Police (Bf`f:icers
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Worccster, l\/lA 01609 _.
(508) 755-6221 " ""“r " -""-* __
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~“'~ Case 4:01-cv-40137-Ni\/|G Document 3 Filed 08/17/01 Page 18 of 35

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WORCESTER, ss SUPERIOR CC)URT DEPARTMENT
OF THE TRIAL COURT
C.A.NO. &@Oj ___ j:))(aBC"
)
TERRY W. ROY, )
Plaintiff )
)
v. )
) PLAINTIFF’S EX PARTE
CITY OF GARDNER, CHARLES J. MANCA, ) MOTION TO IMPOUND
Individually and in his Capaeity as Mayor of` the )
City of Gardner, JAMES E. DUFORT, lndividually )
and in his Qapacity as Chief of Police for the City of) FI l F
Gardner, and ROGER WRIGLEY, Individually and ) . _ "
in his capacity as a Sergeant for the Gardner Police )
Department ) JUL 1@ 2091
Defendants ) ATTESi’.' l
CLERK
NOW COMES the Plaintiff, Terry W. Roy, and respectfully requests that this @

Honorable Court grant his Ex Parte Motion to lmpound “Exhibit A” to his July 3_, 2001
Complaint in the above-referenced matter. 'l` he Exhibit is a four-page agreement between
the Plaintiff, the Defendant City of Gardner, and the Defendant Charles J. Manca. The
Plaintiff respectfully proposes that the document be impounded for the duration of the
litigation between the parties

In support of his request and in compliance with Rules 2 and 3 of the Uniform
Rules on Impoundment Proeedure the Plaintiff submits the attached affidavit of counsel

Respeetfully Submitted
TERRY W. ROY,
By his Attorney,

v/';Tuly 10, 2001 %’ `
"'.'»;Z-¢’ 17 __,1
' ichaa/i§. Ha§in 'F
BBO # 630447
lnternational Brotherhood of Police Officers
70 Elm Street
Worcester, MA 01609
(508) 755-6221

 

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CERTIFICATE OF SERVICE

I, Michael B. Halpin, hereby certify that the attached Ex Parte l\/Iotion to Impound
was, together with its cover letter, true copies of the Plaintiff” s Complaint without Exhibit
A, the tracking order for Civil Action No. 01-1363€, and a summons for each Def`endant_,
delivered this 10th day of July to Francis Traposso, a constable in and for Woreester
County for service upon each Defendant named in the above-referenced action

 

BBO# 630447

-z=s/v?' j _ 'i ¢
/Tichael B./Halpin ' '-

 

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COMMONWEALTH OF MASSACHUSETTS
WORCESTER, ss SUPERIOR COURT DEPARTMENT
OF THE TRIAL COURT
C.A. No.

 

TERRY W. ROY,
Plaintiff

V.

CITY OF GARDNER, CHARLES J. MANCA,
Individually and in his Capacity as l\/layor of the
City of Gardner, JAMES E. DUFORT, Individually )
and in his Capacity as Chief of Police for the City of`)
Gardner, and RC)GER WRIGLEY, Individually and )
in his capacity as a Sergeant for the Gardner Police )
Department )
Defendants )

)

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AFFIDAVIT OF COUNSEL IN SUPPORT OF PLAINTIFF’S
EX PARTE MOTION TO IMPOUND

1. l am an attorney admitted to practice before the Supreme J udicial Court for the
Commonwealth of Massachusetts

2. I am employed as an attorney by and for the International Brotherhood of Police
Officers at 70 Elm Street, Worcester, Massachusetts

3. I represent the Plaintiff, Terry W. Roy, in the above-referenced action

4. The terms of the agreement or document identified as “Exhibit A” in the
Plaintiff` s Complaint and in the Plaintiff` s Ex Parte Motion to Impound prohibit
the disclosure or description of its contents unless the same are necessary for the
enforcement of the agreement

5. The Plaintiff’ s Complaint discloses and/or describes information believed to be
necessary for the enforcement of the agreement and the Plaintiff` s enjoyment of
the same However, the document also contains information that is protected
from public disclosure under Massachusetts General Laws, Chapter 149, Seetion
52C that is not necessary for the enforcement of the agreement or the Plaintiff’ s
enjoyment of the same.

 

 

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6. If` “Exhibit A” were not impounded, the Plaintiff would suffer immediate and
irreparable harm. Immediately after the filing of his Complaint, the Woreester
Telegram & Gazette, and at least on other newspaper, published detailed
information about the agreement, the contents of the same and information
relating to the Same that was apparently gleaned from other sources (See Exhibit
Z attached to this Affidavit).

7. Since the information found in and related to “Exhibit A” is personnel
information within the meaning of Massachusetts General Laws, Chapter 149,
Section 52C, including information that was to be expunged from the Plaintiff’ s
reeords, public access to the information would constitute a significant and
unnecessary intrusion into the Plaintiff’ s personal affairs Aecordingly,
impoundment is necessary to protect the Plaintiff from immediate substantial,
and irreparable harm.

Signed under the pains and penalties of perjury this 10th day of July 2001.

W -;s’ W__.»

ichaa’s. nalpin f
BBo# 630447

 

 

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EX-officer suing Gardner,
officials

j Friday, Jury 6, 2001

By Mary Jo Hill
Telegram & Gazette Stajj"

GARDNER-- A former city police officer is suing
the city, a former mayor, the police chief and a police
sergeant, saying they defamed him and tried to
intimidate and harass him into abandoning his city

j ob.

Terry W. Roy, who lost his police job in
December 1999, filed the civil action Tuesday in
Woreester _S_uperior Court.

Mr. Roy claims his injuries include emotional
distress, lost Wagcs and damage to his reputation

Mr. Roy said he has lost about $120,000 in Wagcs
to date according to court papers He Wants to be
paid for lost wages, receive punitive and other
damages and have his license to possess firearms
retroactively reinstated, the complaint says.

Defendants named in the case are the city of
Gardner, former Mayor Charles J. Manca, Police
Chief James E. Dufort and Police Sgt. Roger
Wrigley.

Mayor Daniel J. Kelley and Mr. Manca both said
they had not seen the complaint and would not
comment. Gregory Angelini, the Leominster lawyer
handling the ease for the city, Could not be reached
for comment

None of the other defendants could be reached for
comment yesterday on the legal complaint. Michael
B. Halpin, a lawyer for the International Brotherhood
of Police foieers, who is representing Mr. Rov, also

http://www.telegram.com/news/page_one/nofficer.html

 

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Mr. Manca fired Mr. Roy at the end of 1999
because Mr. Roy's gun permit had been revoked,
according to a notice of termination Chief Dufort had
denied the firearms license to Mr. Roy because of
allegations of misconduct

A judge's ruling on an unsuccessful bid by Mr.
Roy to overturn the chiefs decision said it was based
on Mr. Roy's negative answers in a firearms
application permit to questions about prior
convictions, prior arrests, prior appearances in any
court as a defendant and prior use of drugs or
narcotics.

In 1999, Mr. Roy said two previous police chiefs
were aware he had a court record. And he said that
from 1995 to 1997 he received five commendations
for exceptional service as a police officer.

Mr. Roy said his troubles started in 1997 when he
arrested City Councilor Roger Jaillet on a drunken
driving charge. The charge was continued without a
finding for a year.

When Mr. Roy went public with a similar
accusation of “political revenge” in 1999, Mr. Jaillet
said he did not know What the officer was talking
about.

The legal complaint filed by Mr. Roy this week
outlines 10 counts.

In one of them, Mr. Roy charges that the city, Mr.
Manca and Chief Dufort defamed his character by
publishing false and libelous material relating to Mr.
Roy's conduct as a police officer, his public and
private conduct, his court history as an adult and
juvenile, his military record and his application for a
firearms license, among other things.

All four defendants interfered with Mr. Roy's right
to privacy by unlawfully receiving and disseminating
material that should have been in his personnel file,
as Well as other information, the complaint said.

The defendants also violated Mr. Roy's privacy
rights and abused their offices by forcing public
employees to dig up dirt about Mr. Roy to justify
firing him and to retaliate against him for asserting
his rights, according to the complaint

Mr. Roy says the defendants launched groundless
legal proceedings against him to get him to quit.

A June 7, 1999, agreement among Mr. Roy, the
city, Mr. Manca and, by implication, Chief Dufort is
the focus of one of the counts in the complaint.

Under the agreement, Mr. Manca and the city
agreed to expunge all material relating to an October

http://www.telegram.com/news/page_one/nofficer.html

 

 

7/6/01

 

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1997 civilian complaint that Mr. Roy had assaulted a
woman he had been dating. In return for the
expunging of material, Mr. Roy agreed to avoid for
one year conduct similar to that alleged or any
conduct involving domestic violence, according to
the complaint.

No charges were ever brought against Mr. Roy for
the alleged assault, but Chief Dufort cited the
allegations as part of the basis for disciplining Mr.
Roy. The officer was ultimately fired from the force
in April 1998, but ordered reinstated by Civil Service.

The June 1999 agreement also called for the police
chief not to deny Mr. Roy a firearms license on the
basis of the reasons given for disciplining him,
according to the complaint

But then Chief Dufort testified under oath that he
did, in violation of the agreement, deny Mr. Roy a
firearm license f`or the same reasons that had been
used to discipline him, the complaint said.

Friday, July 6, 2001

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http://www.telegram.com/news/page_one/nofficer.html 7/6/01

 

Case 4:Ol-cv-40137-N|\/|G Document 3 Filed 08/17/01 Page 25 of 35

lNTERNATIONAL BROTHERHOOD OF POLICE OFFICERS
A DrvisioN or rita NAT!oNAL Assc)eumoN OF GovaRNMENT EMPLC)YEES. AFL/cro

70 Elm Street, phone 508~755-6221
Wol'cestcr, Massi 01609 far 508~795~0005

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July 10, 2001

HAND DELIVEREI)

Loring P. Lamoureux, Clerk of Courts
Woreester Superior Court

Civil Division

2 Main Street, Room 21

Woreester, MA 01608

Re: Roy v. City of Gardner, et al
C.A. No. 01~1232

 

Dear Mr. liamoureux:

Encloscd please find “Exhibit A” to the Plaintiff’s Complaint in the above-
referenced matter_, together with the Plaintiff’ s Ex Parte Motion to Impound the same.

l appreciate your attention to this matter. Please contact my office if you have
any questions or concerns.

Sincerely,

wlicha ’f:ilp/ """"

J/, Courisel

Enclosure

ce: City of Gardner (wl`thout enclosure)
Charles J. Manca (without enclosure)
J ames E. Dufort (without enclosure)
Roger Wrigley (wl'thout enclosure)

 

     

 

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Case 4:Ol-cv-40l37-N|\/|G Document 3 Filed 08/17/01 Page 30 of 35

OF MASSACHUSETTS

)Worcester Superior Court
)DOCKET NO: 01-1363C
)SPECIAL PROCESS SERVER
)UNDER RULE C OF THE
)MASSACHUSETTS FEDERAL
Plaintiff(s) )RULES OF ClV[L PROCEDURE

 

VS

City of Gardner, et al
Defendant(s)

The Plaintiff moves this Honorable Court to appoint FRANCIS J . TRAPASSO AND/OR

HIS/HER AGENTS, a Constable and a qualified and knowledgeable person in the service of

court process and not a party to the action to be specially appointed by the court to serve the 57
process in this action under the provision of Rule 4C of the Massachusetts and Federal Rules of /
the civil procedure in order to assure a substantial savings in time.

By its agent:

   

l\/[ichael Halpin, lisan
70 Elm Street 1 .l`

/l Woreester, MA 01609

ORDER OF Tl~lE COURT APPO[NTING A SPECI`AL PROCESS SERVER
PURSUANT TO RULE 4C, lT IS ORDERED THAT FRANCIS J. TRAPASSO AND/OR
HIS/HER AGENTS IS HEREBY APPO[NTED A SPECIAL PROCESS SERVER FOR TH]E
ABOVE CAPTIONED CAUSE

\lay j /p/¢M~vi /

T itle Justice

 

Court:Worcester Superior Court

Date .“____._ _»

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Asst. Clerk

 

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' Case 4:Ol-cv-40l37-N|\/|G Document3 Filed 08/17/01 Page 31 of 35 / //

COMMONWEALTH OF MASSACHUSETTS

WORCESTER, SS SUPERIOR COURT DEPARTMENT
OF THE TRIAL CCURT
C.A. NO. 01-1363 ,./]

 

 

) ~.¢
TERRY W. ROY, ) 4@__~3._ 3
Plaintiff ) " x __ 2001
) 1 - /r: a
Cl_ .
CITY OF GARDNER, CHARLES J. MANCA, ) JOINT MOTION ER'( "
Individually and in his Capacity as Mayor of the ) TO IMPOUND /H~
City of Gardner, JAMES E. DUFORT, Individually )
and in his Capacity as Chief of Police for the City of)
Gardner, and ROGER WRIGLEY, lndividually and )
in his capacity as a Sergeant for the Gardner Police )
Department )
Def`endants )
,»\ )
§
\ §§ NOW COME the parties to the above-referenced action and respectfully request that that

\ §this Honorable Court act favorably upon the Plaintiii’ s July 10 2001 Ex Parte Motion to
§§§mpound “Exhibit A” to his July 3 2001 Complaint and order that the Plaintiff, Defendant City
\;\ ;k
\ of Gardner Defendant Dufort Defendant Manca, their respective attorneys any witnesses
\\ i:\
\.:`*/ <)-material to the Plaintif`f’s claims involving the document or the Defendants defenses to the
\ same, along with the court and any necessary stenographers and/or court personnel, be permitted
to review the document to the permanent exclusion of all others, including but not limited to

other named Defendants, members of the public_, and the media

 

Case 4:Ol-cV-40137-N|\/|G Document 3 Filed 08/17/01 Page 32 of 35

WHEREFORE, the parties to the above-referenced action ask that this I-Ionorable Court

act favorably upon their request and issue an order in accordance with the same.

 

Respectfully Submitted,
DEFENDANTS CITY OF GARDNER, TERRY W. ROY,
JAMES DUFORT, CHARLES MANCA, By his Attomey,
& ROGER WRIGLEY
By their Attomey,
l ,- 5:;/“"/`) 0 S:#"\»@'.\r V

/J?{rnes W. Simpson, ]i. / W §`chael § Halpin §
Douglas I. Louison BBO# 630447
Merrick, Louison & Costello I.B.P.O.
67 Batterymarch Street 70 Elm Street
Boston, MA 02110 Worcester, MA 01609
(617) 439-0305 (508) 755-6221

CERTIFICATE OF SERVICE

I, Michael B. Halpin, hereby certify that the attached Joint Motion to Impound was
delivered by first class mail, postage prepaid, to James Simpson, Counsel for the Def`endants, at
67 Batterymarch Street, Boston, MA 02110, this 27th day of July 2001.

' / ' F'//_% j
MichaelB.Halpin /"
BBO# 630447

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000 07 2001 ZUU' JUL 2050/twa 03 O/' /%ZC
TERRY W. ROY, Ar."z'.sr; 451 __ /;-/ /¢'

Plaintiff, W…;’ ij ”"BW'W CLERK

v. l Y-` " iii-rice

CiTV OF GARDNER, CHARLES L. MANCA,

individually and in his Capacity as Mayor of ~ -
the City of Gardner, |AMES E. DUFORT, 1 " 4 0 1 3 7050;
individually and in his Capacity as Chief of Police

for the City of Gardner, and ROGER WRlGLEY,

individually and in his Capacity as a Sargeant for

the Gardner Police Department,
Defendants.

  

NOT|CE OF REMOVAL

To: United States District Court

District of Massachusetts

The petition of the defendants, assert:
i. On or about july 3, 2001 , plaintiff commenced a civil action against the defendants
in the Superior Court of the Comrnonwealth of Massachusetts, County of Worcester,
entitled Terry Rov v. City of Gardner, et al, Civi| Action No. 2001-01363 copy of the
Complaint, and the Surnrnons served on the defendant, City of Gardner, is attached
hereto.
2. The above-described action is a civil action of which this Court has original
jurisdiction under the provisions of 42 U.S.C. Section 1983, and is one Which may be
removed to this Court by the defendants pursuant to the provisions of 28 U.S.C. Section
1441. This is an action alleging claims including those arising out of the Constitution of
the United States. The defendants file this Notice of Remova| within thirty (30) days of
receipt of plaintiff's Complaint and service of Summons upon them pursuant to 28 U.S.C.

Section l446(b).

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3. Written notice of the filing of this Notice shall be promptly served upon the plaintiff

and filed with the Clerk of the Worcester County Superior Court pursuant to 28 U.S.C.

Section 1446(d).

4. Pursuant to Local Rule 81 .1 of the United States District Court for the District of

Massachusetts, the defendants shall file certified or attested copies of all records and

proceedings in the state court and certified or attested copies of all docket entries in the

state court with this Court.

WHEREFORE, petitioners respectfully pray that the action now pending against it in

the Superior Court of the Commonwealth of Massachusetts in and for the County of

Worcester, be removed to the United States District Court for the District of Massachusetts.

f

Signed and sworn to under the penalties of perjury this Q'_S day of]uly, 2001.

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BY: _.__ ..
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CERT|F|CATE OF SERVlCE/

Defendants,
by their attorney,

  

 

éoug|as |. Louison (BBO # 545191)

james W. Simpson, ]r. (BBO# 634344)
MERRiCi<, LOU|SON & COSTELLO

67 Batterymarch Street
Boston, MA 02110
(617) 439-0305

 

foregoing by causing a copy to be mailed, postage prepaid,-"`directed \

Esq., international Brotherhood of Police Officers, 7 im Street,

e@@i

A true Copy b
Att

 

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“ Case4:Ol-Cv-40l37-Ni\/|G Document3 Filed 08/17/01

MERRICK, L()UISON & COS'I‘ELLO

AT'I`ORNEYS AT LAW

67 BAT'I`ERYMARCH STREET
BOS’I‘O'N. MASSACHI`_ISETTS 02110

TELE`PHON'E: (617) 439-0305
FACSIMILE: (617) 439~0325

July 30, 2001

Clerk~ Civil Section
Woreester Superior Court
Courthouse

Roorn 21

2 Main Street

Woreester, MA 10608

Re: Terry Rov v. City of Gardner. et al
Civil Action No. 2001-01363 Q/

USDC CA No. 01-40137NMG

Dear Sir/Madam:

Page 35 of 35

Enclosed please find the Notice of Rernoval filed With the U.S.D.C.

Please forward all relevant documents to this office at your earliest conveniencel

If you have any questions, please feel free to Contact me. Thank you for your attention

to this matter.

Very truly yours,

‘-\-...

James W. Sirnpson, Jr.

Xc: Michael B. Halpin, Esq.

 

